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“. pyetaict COUR’ IN THE UNITED STATES DISTRICT COURT
CLERK, US; O8S ONTANA FOR THE DISTRICT OF MONTANA
OB ICS, MONTANA BILLINGS DIVISION

 

CR-15-15-BLC-SPW
MOTION TO RECEIVE TRANSCRIPT OF
Plaintiff INITIAL INTERVIEW W/ CASSIDY HOLL-
, AND NOTES/RECORDING ON 01/29/2015,
TRANSCRIPT OF RECORDED INTERVIEW
V. W/ CASSIDY HOLLAND ON 03/11/2016,
TRANSCRIPT OF RECORDED INTERVIEW
WILLIAM MAURICE SMITH, W/ JUSTIN RIDDLE ON 12/19/2014,'
Defendant TRANSCRIPT OF GRAND JURY MINUTES/
- PROCEEDINGS ON 02/18/2015, AND
THE BRADY/GIGLIO JENCKS ACT MAT-
ERIAL AND OR DOCUMENT'S

UNITED STATES OF AMERICA,

 

COMES NOW Defendant WILLIAM MAURICE SMITH, and moves the Court

for an order to recieve the above referenced Transcripts and or
Documents. This matter is currently before the court seeking
Appellate review under case #. 16-30210 . MR. SMITH appears
before this Honorable court petitioning for documents without
pre-payment for good cause and reasoning below:

1. Newly discovered material has developed which needs doc-
uments that are in care of plaintiff "Government" that supports
the newly discovered evidence.

2. This Newly discovered evidence will prove Mr. Smith's
actual and factual innocence.

Mr. Smith now appears before this honorable court seeking the

following documents at the governments expense:

A. Transcript of initial interview with Cassidy Holland on
01/29/2015, notes and or recording.

B. Transcript of the recorded interview with Cassidy Holland on
03/11/2016.

C. Transcript of the recorded interview with Justin Riddle on
12/19/2014.
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D. Transcript of the Grand Jury minutes and or proceedings on
02/18/2015.

E. The Brady/Giglio and Jencks act material and or documents.

The court previously imposed an order directing Mr. Smith's
counsel to provide him with a copy of the unredacted transcript
of the motion to suppress hearing, additionally Mr.Smith moves
the court for an order to recieve the above mentioned transcripts
and or documents, and petitions the court for these documents
without pre-payment pursuant to 28 U.S.C. § 753(f) where good

cause exists.

WHEREFORE, Petitioner hereby respectfully moves for leave
seeking an order and directives for reasons that are established

herein.

Respectfully submitted this 18th day of June, 2018.

/s/ WO: Ilia ya (V1, Sma th

06/18/2018, WILLIAM M. SMITH.

 
CERTIFICATE OF eR:

- I; t); Izu Smyth hereby certify that I have served a true-

and correct copy of the following:

Teo Pye letter to district Court

Which is deemed filed at ‘the time it was delivered to prison authorities. for
‘forwarding, Houston v. Lack, 101 L.Ed.2d.245 (1988), upon the defendant/
defendants and or his attorney/attormeys of record, oy. placing same in a
Sealed, postage prepaid envelope addressed to:

United States District Court:
AGO] Second Avenue North, rm. 4209
Bill: ngs , ‘Mortana §4 Kol

| and deposited same in the United States Mail at Florence USP: ‘High:

I declare, under penalty of. perjury (Title 28 u. 5. c. 51746). that the
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Dated this | i day of jtane _? 20 ig.

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